Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 1 of 26




            EXHIBIT A
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 2 of 26



                    1   DICELLO LEVITT GUTZLER LLC                       COOLEY LLP
                        David A. Straite (admitted pro hac vice)         Michael G. Rhodes (116127)
                    2   One Grand Central Place                          (rhodesmg@cooley.com)
                        60 E. 42nd St., Suite 2400                       Kyle C. Wong (224021)
                    3   New York, NY 10165                               (kwong@cooley.com)
                        Tel.: (646) 933-1000                             Lauren J. Pomeroy (291604)
                    4   dstraite@dicellolevitt.com                       (lpomeroy@cooley.com)
                                                                         Sharon Song (313535)
                    5   GRYGIEL LAW LLC                                  (ssong@cooley.com)
                        Stephen G. Grygiel (admitted pro hac vice)       3 Embarcadero Center, 20th Floor
                    6   301 Warren Avenue, Suite 405                     San Francisco, CA 94111-4004
                        Baltimore, MD 21230                              Telephone: (415) 693-2000
                    7   Tel.: (407) 505-9463                             Facsimile: (415) 693-2222
                        sgrygiel@silvermanthompson.com
                    8                                                    Counsel for Defendant
                        SIMMONS HANLY CONROY LLC
                    9   Jason ‘Jay’ Barnes (admitted pro hac vice)
                        112 Madison Avenue, 7th Floor
                   10   New York, NY 10016
                        Tel.: (212) 784-6400
                   11   Fax: (212) 213-5949
                        jaybarnes@simmonsfirm.com
                   12
                        Counsel for PlaintiffsKIESEL + LARSON LLP        KEEFE BARTELS, L.L.C.
                   13   Paul R. Kiesel (SBN 119854)                      Stephen G. Grygiel
                        kiesel@kbla.com                                  170 Monmouth Street
                   14   8648 Wilshire Boulevard                          Red Bank, NJ 07701
                        Beverly Hills, CA 90211-2910                     sgrygiel@keefebartels.com
                   15   Telephone: (310) 854-4444                        Telephone: (732) 224-9400
                        Facsimile: (310) 854-4812                        Facsimile: (732) 224-9494
                   16   Interim Liaison Counsel                          Interim Co-Lead Counsel
                   17   BARTIMUS, FRICKLETON,
                        ROBERTSON & GORNY, P.C.
                   18   Edward D. Robertson, Jr.
                        Stephen M. Gorny
                   19   James P. Frickleton
                        Mary D. Winter
                   20   Edward D. Robertson III
                        11150 Overbrook Road, Suite 200
                   21   Leawood, KS 66211
                        chiprob@earthlink.net
                   22   Telephone: (913) 266-2300
                        Facsimile: (913) 266-2366
                   23   Interim Co-Lead Counsel
                   24

                   25                               UNITED STATES DISTRICT COURT

                   26                             NORTHERN DISTRICT OF CALIFORNIA

                   27                                        SAN JOSE DIVISION

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                               NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                       1            [PROPOSED] AMENDED STIPULATED
                                                                                               PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 3 of 26



                    1                                                         Case No. 12-md-02314 EJD
                    2   IN RE FACEBOOK INTERNET                               [PROPOSED] AMENDED STIPULATED
                        TRACKING LITIGATION                                   PROTECTIVE ORDER FOR LITIGATION
                    3                                                         INVOLVING CONFIDENTIAL
                                                                              INFORMATION AND TRADE SECRETS
                    4

                    5

                    6
                               IT IS HEREBY STIPULATED AND AGREED, by and between the Parties hereto,
                    7
                        through their respective counsel of record, that in order to facilitate the exchange of information
                    8
                        and documents that may be subject to confidentiality limitations on disclosure, the Parties stipulate
                    9
                        as follows:
                   10
                        1.     PURPOSES AND LIMITATIONS
                   11
                               Disclosure and discovery activity in this action are likely to involve production of
                   12
                        confidential, proprietary, or private information for which special protection from public disclosure
                   13
                        and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,
                   14
                        the parties hereby stipulate to and petition the court to enter the following Stipulated Protective
                   15
                        Order. The Parties acknowledge that this Order does not confer blanket protections on all
                   16
                        disclosures or responses to discovery and that the protection it affords from public disclosure and
                   17
                        use extends only to the limited information or items that are entitled to confidential treatment under
                   18
                        the applicable legal principles. The Parties further acknowledge, as set forth in Section 13.3, below,
                   19
                        that this Stipulated Protective Order does not entitle them to file confidential information under
                   20
                        seal; Civil Local Rule 79-5 and General Order 62 sets forth the procedures that must be followed
                   21
                        and the standards that will be applied when a party seeks permission from the court to file material
                   22
                        under seal.
                   23
                        2.     DEFINITIONS
                   24
                               2.1     Challenging Party: a Party or Non-Party that challenges the designation of
                   25
                        information or items under this Order.
                   26
                               2.2     CONFIDENTIAL: any information or item, which is in the possession of a
                   27
                        Designating Party, which qualifies for protection under Federal Rule of Civil Procedure 26(c) or
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            2             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 4 of 26



                    1   which contains trade secrets, proprietary business information, competitively sensitive information,
                    2   personal identifying information, or other information, the disclosure of which would, in the good
                    3   faith judgment of the party designating the material as confidential, be detrimental to the conduct
                    4   of that party’s business or personal affairs.
                    5          2.3     Designating Party: a Party or Non-Party that designates information or items that it
                    6   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY
                    7   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
                    8          2.4     Disclosure or Discovery Material: all items or information, regardless of the
                    9   medium or manner in which it is generated, stored, or maintained (including, among other things,
                   10   testimony, transcripts, responses to interrogatories, responses to requests for admission, paper
                   11   documents, electronic documents, and tangible things), that are produced or generated in
                   12   disclosures or responses to discovery in this matter.
                   13          2.5     Expert: a person with specialized knowledge or experience in a matter pertinent to
                   14   the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a
                   15   consultant in this action.
                   16          2.6     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”: extremely sensitive
                   17   “Confidential” information or items, disclosure of which to another Party or Non-Party would
                   18   create a substantial risk of serious harm that could not be avoided by less restrictive means.
                   19          2.7     Non-Party: any natural person, partnership, corporation, association, or other legal
                   20   entity not named as a Party to this action.
                   21          2.8     Party: any party to this action, including all of its officers, directors, employees,
                   22   consultants, retained experts, and counsel of record (and their support staffs).
                   23          2.9     Producing Party: a Party or Non-Party that produces Disclosure or Discovery
                   24   Material in this action.
                   25          2.10    Professional Vendors: persons or entities that provide litigation support services
                   26   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,
                   27   storing, or retrieving data in any form or medium) and their employees and subcontractors.
                   28          2.11    Protected Information or Material(s): all Disclosure or Discovery Material, and
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            3             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 5 of 26



                    1   tangible things, and all information contained therein (regardless of how such information is
                    2   generated,    stored   or   maintained),   designated    as   “CONFIDENTIAL”          or   “HIGHLY
                    3   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the provisions of this Stipulated
                    4   Protective Order.
                    5          2.12    Receiving Party: a Party that receives Disclosure or Discovery Material from a
                    6   Producing Party.
                    7   3.     SCOPE
                    8          The protections conferred by this Stipulated Protective Order cover not only Protected
                    9   Material (as defined above), but also (1) any information copied or extracted from Protected
                   10   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any
                   11   testimony, conversations, or presentations by Parties or their counsel that might reveal Protected
                   12   Material. However, the protections conferred by this Stipulated Protective Order do not cover the
                   13   following information: (a) any information that is in the public domain at the time of disclosure to
                   14   a Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as
                   15   a result of publication not involving a violation of this Order, including becoming part of the public
                   16   record through trial or otherwise; and (b) any information known to the Receiving Party prior to
                   17   the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained
                   18   the information lawfully and under no obligation of confidentiality to the Designating Party. Any
                   19   use of Protected Material at trial shall be governed by a separate agreement or order.
                   20   4.     DURATION
                   21          Even after final disposition of this litigation, the confidentiality obligations imposed by this
                   22   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
                   23   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and
                   24   defenses in this action, with or without prejudice; and (2) final judgment herein after the completion
                   25   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the
                   26   time limits for filing any motions or applications for extension of time pursuant to applicable law.
                   27   5.     DESIGNATING PROTECTED MATERIAL
                   28          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party
COOLEY LLP
ATTORNEYS AT LAW                                                                                      NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            4              [PROPOSED] AMENDED STIPULATED
                                                                                                      PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 6 of 26



                    1   or Non-Party that designates information or items for protection under this Order must take care to
                    2   limit any such designation to specific material that qualifies under the appropriate standards. To the
                    3   extent it is practical to do so, the Designating Party must designate for protection only those parts
                    4   of material, documents, items, or oral or written communications that qualify – so that other
                    5   portions of the material, documents, items, or communications for which protection is not
                    6   warranted are not swept unjustifiably within the ambit of this Order.
                    7          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
                    8   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
                    9   unnecessarily encumber or retard the case development process or to impose unnecessary expenses
                   10   and burdens on other parties) expose the Designating Party to sanctions.
                   11          If it comes to a Designating Party’s attention that information or items that it designated for
                   12   protection do not qualify for protection, that Designating Party must promptly notify all other
                   13   Parties that it is withdrawing the mistaken designation.
                   14          5.2     Manner and Timing of Designations. Except as otherwise provided in this Order,
                   15   or as otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                   16   under this Order must be clearly so designated before the material is disclosed or produced.
                   17          Designation in conformity with this Order requires:
                   18                  (a)     For information in documentary form (e.g. paper or electronic documents,
                   19   but excluding transcripts of depositions or other pretrial or trial proceedings), to the extent
                   20   practicable, the Designating Party must affix the legend “CONFIDENTIAL” or “HIGHLY
                   21   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page of a paper or electronic document
                   22   that contains Protected Material.
                   23          A Party or Non-Party that makes original documents or materials available for inspection
                   24   need not designate them for protection until after the inspecting Party has indicated which material
                   25   it would like copied and produced. During the inspection and before the designation, all of the
                   26   material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –
                   27   ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants
                   28   copied and produced, the Designating Party must determine which documents qualify for protection
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            5             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 7 of 26



                    1   under this Order. Then, before producing the specified documents, to the extent practicable, the
                    2   Designating Party must affix the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                    3   ATTORNEYS’ EYES ONLY” legend to each page of a paper or electronic document that contains
                    4   Protected Material.
                    5           For documents produced electronically in a format that includes separate pagination, to the
                    6   extent practicable, the Designating Party must affix the legend “CONFIDENTIAL” or “HIGHLY
                    7   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each electronic page of such documents that
                    8   contains Protected Material. For documents produced in a format which does not lend itself to
                    9   separate pagination (e.g., certain databases), confidentiality shall be designated in a reasonable
                   10   manner.
                   11                   (b)     For testimony given in deposition or in other pretrial or trial proceedings, the
                   12   Designating Party may either:
                   13                           i.      identify on the record, before the close of the deposition, hearing, or
                   14   other proceeding, all “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                   15   EYES ONLY” testimony, by specifying all portions of the testimony that qualify as “Confidential”
                   16   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”; or
                   17                           ii.     designate the entirety of the testimony at the deposition, hearing, or
                   18   other proceeding as “Confidential” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                   19   ONLY” (before the deposition, hearing, or other proceeding is concluded) with the right to identify
                   20   more specific portions of the testimony as to which protection is sought within 30 days following
                   21   receipt of the transcript of the deposition, hearing, or other proceeding. Only those portions of the
                   22   testimony that are appropriately designated for protection within the 30 days shall be covered by
                   23   the provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify,
                   24   at the deposition or within 30 days following receipt of the transcript, that the entire transcript shall
                   25   be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                   26   ONLY.”
                   27           For court hearings and conferences, whether in-person or telephonic, a Party shall not
                   28   discuss, display, submit as evidence, or otherwise enter into the record Protected Material produced
COOLEY LLP
ATTORNEYS AT LAW                                                                                       NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                             6              [PROPOSED] AMENDED STIPULATED
                                                                                                       PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 8 of 26



                    1   by the other Party (or the contents thereof) unless it has previously identified that Protected Material
                    2   to the Designating Party at least 48 hours prior to such hearing or conference. Notwithstanding the
                    3   foregoing, this advance-notice requirement shall not apply in circumstances where the Party could
                    4   not have reasonably anticipated so using Protected Material at the court hearing or conference.
                    5   Parties shall act with caution at court hearings and conferences so as not to disclose Protected
                    6   Material publicly without providing an opportunity for the Designating Party to be heard
                    7   concerning, as appropriate, sealing the courtroom, sealing the transcript, or other relief. The
                    8   Designating Party may move for such sealing or other relief either in writing or orally, either before
                    9   or during the court hearing or conference. The use of a document as an exhibit at a deposition shall
                   10   not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                   11   ATTORNEYS’ EYES ONLY.”
                   12          Transcripts containing Protected Material shall have an obvious legend on the title page that
                   13   the transcript contains Protected Material, and the title page shall be followed by a list of all pages
                   14   (including line numbers as appropriate) that have been designated as Protected Material. In
                   15   circumstances where portions of the Testimony are designated for protection, the transcript pages
                   16   containing “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                   17   information may be separately bound by the court reporter, who must affix to the top of each page
                   18   the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”
                   19   as instructed by the Designating Party. The Designating Party shall inform the court reporter of
                   20   these requirements. Any transcript that is prepared before the expiration of a 30-day period for
                   21   designation shall be treated during that period as if it had been designated “HIGHLY
                   22   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise agreed. After
                   23   the expiration of that period, the transcript shall be treated only as actually designated.
                   24                  (c)     For information produced in some form other than documentary and for any
                   25   other tangible items, including, without limitation, compact discs or DVDs, the Designating Party
                   26   must affix in a prominent place on the exterior of the container or containers in which the
                   27   information or item is stored the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                   28   ATTORNEYS’ EYES ONLY.” If only a portion or portions of the information or item warrant
COOLEY LLP
ATTORNEYS AT LAW                                                                                       NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                             7              [PROPOSED] AMENDED STIPULATED
                                                                                                       PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 9 of 26



                    1   protection, the Producing Party, to the extent practicable, shall identify the protected portion(s).
                    2           5.3    Inadvertent Failures to Designate. The inadvertent production of any Disclosure or
                    3   Discovery Material or other information during discovery in this proceeding without a
                    4   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                    5   designation shall be without prejudice to any claim that such item is “CONFIDENTIAL” or
                    6   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” and such Party shall not be held
                    7   to have waived any rights by such inadvertent production. In the event that any Disclosure or
                    8   Discovery Material or other information that is subject to a “CONFIDENTIAL” or “HIGHLY
                    9   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” designation is inadvertently produced
                   10   without such designation, the Party that inadvertently produced the Disclosure or Discovery
                   11   Material shall give written notice of such inadvertent production within twenty (20) business days
                   12   of discovery of the inadvertent production, together with a further copy of the subject Disclosure
                   13   or Discovery Material or other information designated as “CONFIDENTIAL” or “HIGHLY
                   14   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (the “Inadvertent Production Notice”). Upon
                   15   receipt of such Inadvertent Production Notice, the Party that received the inadvertently produced
                   16   Disclosure or Discovery Material or other information shall promptly destroy the inadvertently
                   17   produced Disclosure or Discovery Material or other information and all copies thereof, or, at the
                   18   expense of the Producing Party, return such together with all copies of such Disclosure or
                   19   Discovery Material or other information to counsel for the producing Party and shall retain only
                   20   the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                   21   designated Disclosure or Discovery Material. This provision is not intended to apply to any
                   22   inadvertent production of any information or materials protected by attorney-client or work
                   23   product privileges, which is governed by Section 12 below.
                   24          5.4     Personally Identifiable Information of Named Plaintiffs. Defendant Facebook shall
                   25   make reasonable efforts to designate as “CONFIDENTIAL” all Discovery Material within its
                   26   possession, custody, or control that it produces that relates specifically to or identifies any named
                   27   plaintiff in this action. “Named Plaintiffs” shall include plaintiffs serving as lead plaintiffs in In
                   28   re: Facebook Internet Tracking Litigation, No. 12-md-02314-EJD (N.D. Cal.), as well as plaintiffs
COOLEY LLP
ATTORNEYS AT LAW                                                                                      NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            8              [PROPOSED] AMENDED STIPULATED
                                                                                                      PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 10 of 26



                    1   in any action consolidated with the current action by the JPML.
                    2   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
                    3          6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of
                    4   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
                    5   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
                    6   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to
                    7   challenge a confidentiality designation by electing not to mount a challenge promptly after the
                    8   original designation is disclosed.
                    9          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process
                   10   by providing written notice of each designation it is challenging and describing the basis for each
                   11   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must
                   12   recite that the challenge to confidentiality is being made in accordance with this specific paragraph
                   13   of the Stipulated Protective Order. The Parties shall attempt to resolve each challenge in good faith
                   14   and must begin the process by conferring directly within 14 days of the date of service of notice.
                   15   In conferring, the Challenging Party must explain the basis for its belief that the confidentiality
                   16   designation was not proper and must give the Designating Party an opportunity to review the
                   17   designated material, to reconsider the circumstances, and, if no change in designation is offered, to
                   18   explain the basis for the chosen designation. A Challenging Party may proceed to the next stage of
                   19   the challenge process only if it has engaged in this meet and confer process first or establishes that
                   20   the Designating Party is unwilling to participate in the meet and confer process in a timely manner.
                   21          6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court
                   22   intervention, the Challenging Party shall file and serve a motion challenging the confidentiality
                   23   designation under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5 and General
                   24   Order 62, if applicable) within 20 business days of the initial notice of challenge or within 10
                   25   business days of the parties agreeing that the meet and confer process will not resolve their dispute,
                   26   whichever is earlier. Each such motion must be accompanied by a competent declaration affirming
                   27   that the movant has complied with the meet and confer requirements imposed in the preceding
                   28   paragraph. Failure by the Challenging Party to make such a motion including the required
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            9             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 11 of 26



                    1   declaration within 20 business days (or 10 business days, if applicable) shall automatically waive
                    2   any challenge to the confidentiality designation for each challenged designation.
                    3          The burden of persuasion in any such challenge proceeding shall be on the Designating
                    4   Party. All parties shall continue to afford the material in question the level of protection to which
                    5   it is entitled under the Designating Party’s designation until the Court rules on the challenge.
                    6   7.     ACCESS TO AND USE OF PROTECTED MATERIAL
                    7          7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or
                    8   produced by another Party or by a Non-Party in connection with this case only for prosecuting,
                    9   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to
                   10   the categories of persons and under the conditions described in this Stipulated Protective Order.
                   11   When the litigation has been terminated, a Receiving Party must comply with the provisions of
                   12   section 14 below (FINAL DISPOSITION).
                   13          Protected Material must be stored and maintained by a Receiving Party at a location and in
                   14   a secure manner that ensures that access is limited to the persons authorized under this Order.
                   15          7.2     Data Security of Protected Material. Any person in possession of or transmitting
                   16   another Party’s Protected Material must take reasonable steps and precautions to secure the
                   17   Protected Material from loss, misuse and unauthorized access, disclosure, and protect against any
                   18   reasonably anticipated threats or hazards to the security of the Protected Material. Reasonable steps
                   19   and precautions include, but are not limited to and may be supplemented by other obligations
                   20   applicable to the Party under contract or law:
                   21                  (a)     Protected Material should be maintained in a secure eDiscovery/litigation
                   22   support site(s) with standard industry practices regarding data security, including but not limited to
                   23   access control rights to those persons entitled to access the Protected Material under this Stipulated
                   24   Protective Order;
                   25                  (b)     Any Protected Material downloaded from the eDiscovery/litigation support
                   26   site(s) in electronic format shall be stored on device(s) that are password protected and/or encrypted
                   27   with access limited to persons entitled to access the Protected Material under this Stipulated
                   28   Protective Order. If the device(s) are unable to be password protected and/or encrypted, then the
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                           10             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 12 of 26



                    1   Protected Material shall be password protected and/or encrypted at the file level; and
                    2                  (c)     Any Protected Material in paper format must be maintained in a secure
                    3   location with access limited to persons entitled to access the Protected Material under this
                    4   Stipulated Protective Order.
                    5          7.27.3 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
                    6   by the court or permitted in writing by the Designating Party, any information or item designated
                    7   “CONFIDENTIAL” by the Designating Party shall be disclosed only to:
                    8                  (a)     Attorneys of record in this proceeding and their affiliated attorneys,
                    9   paralegals, clerical and secretarial staff employed by such attorneys;
                   10                  (b)     In-house counsel to the undersigned Parties and the paralegal, clerical and
                   11   secretarial staff employed by such counsel, provided, however, that each non-lawyer given access
                   12   to Protected Materials shall be advised that such Materials are being disclosed pursuant to, and are
                   13   subject to, the terms of this Stipulated Protective Order and that they may not be disclosed other
                   14   than pursuant to its terms;
                   15                  (c)     the officers, directors, and employees of the Receiving Party to whom
                   16   disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment
                   17   and Agreement to Be Bound” (Exhibit A);
                   18                  (d)     Experts (as defined in this Order) of the Receiving Party to whom disclosure
                   19   is reasonably necessary for this litigation and who have signed the “Acknowledgment and
                   20   Agreement to Be Bound” (Exhibit A) and as to whom the procedures set forth in Section 7.4, below,
                   21   have been followed;
                   22                  (e)     the Court and its personnel;
                   23                  (f)     court reporters and their staff, professional jury or trial consultants, and
                   24   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have
                   25   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                   26                  (g)     during depositions, trial, or hearings, any witnesses in the action to whom
                   27   disclosure is reasonably necessary and who have signed the “Acknowledgment and Agreement to
                   28   Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the Court
COOLEY LLP
ATTORNEYS AT LAW                                                                                    NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                           11            [PROPOSED] AMENDED STIPULATED
                                                                                                    PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 13 of 26



                    1   (pages of transcribed testimony or exhibits to transcripts that reveal Protected Material may be
                    2   separately bound by the court reporter and must not be disclosed to anyone except as permitted
                    3   under this Stipulated Protective Order); and
                    4                  (h)     the author or recipient of a document containing the information or a
                    5   custodian or other person who otherwise possessed or knew the information.
                    6          7.37.4 Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                    7   Information or Items. Unless otherwise ordered by the court or permitted in writing by the
                    8   Designating Party, any information or item designated “HIGHLY CONFIDENTIAL –
                    9   ATTORNEYS’ EYES ONLY” by the Designating Party shall be disclosed only to:
                   10                  (a)     the Receiving Party’s Outside Counsel of Record in this action and their
                   11   employees, as well as any non-employee contract attorneys or paralegals retained by said Outside
                   12   Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation
                   13   (for the sake of clarity, the parties agree that “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                   14   ONLY” information or items shall not be disclosed to named plaintiffs in this action), who have
                   15   signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A;
                   16                  (b)     In-house counsel to the undersigned Parties and the paralegal, clerical and
                   17   secretarial staff employed by such counsel, provided, however, that each non-lawyer given access
                   18   to Protected Materials shall be advised that such Materials are being disclosed pursuant to, and are
                   19   subject to, the terms of this Stipulated Protective Order and that they may not be disclosed other
                   20   than pursuant to its terms;
                   21                  (c)     Experts (as defined in this Order) of the Receiving Party to whom disclosure
                   22   is reasonably necessary for this litigation and who have signed the “Acknowledgment and
                   23   Agreement to Be Bound” (Exhibit A) and as to whom the procedures set forth in Section 7.4, below,
                   24   have been followed;
                   25                  (d)     the Court and its personnel;
                   26                  (e)     court reporters and their staff, professional jury or trial consultants, and
                   27   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have
                   28   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
COOLEY LLP
ATTORNEYS AT LAW                                                                                    NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                          12             [PROPOSED] AMENDED STIPULATED
                                                                                                    PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 14 of 26



                    1                   (f)    the author or recipient of a document containing the information or a
                    2   custodian or other person who otherwise possessed or knew the information.
                    3             7.47.5 Additional Provisions Regarding Experts: “CONFIDENTIAL” or “HIGHLY
                    4   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information or items may be disclosed to an
                    5   Expert without disclosure of the identity of the Expert to the opposing Party as long as the Expert
                    6   is not a current officer, director, employee, family member, or paid consultant of a Party or a
                    7   competitor of a Party or agreed to become one, or a past officer, director, employee, family member,
                    8   or paid consultant of a Party. An Expert who is a current officer, director, employee, family
                    9   member, or paid consultant of a Party or a competitor of a Party or agreed to become one, or a past
                   10   officer, director, employee, family member, or paid consultant of a Party shall be deemed a 7.4
                   11   Expert.
                   12                   (a)    Unless otherwise ordered by the court or agreed to in writing by the
                   13   Designating Party, a Party that seeks to disclose to an 7.4 Expert any information or item that has
                   14   been designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                   15   ONLY” first must make a written request to the Designating Party that (1) identifies the general
                   16   categories of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” information that the Receiving
                   17   Party seeks permission to disclose to the 7.4 Expert; (2) sets forth the full name of the 7.4 Expert
                   18   and the city and state of his or her primary residence; (3) attaches a copy of the 7.4 Expert’s current
                   19   resume; (4) identifies the 7.4 Expert’s current employer(s); (5) identifies each person or entity from
                   20   whom the 7.4 Expert has received compensation or funding for work in his or her areas of expertise
                   21   or to whom the 7.4 Expert has provided professional services, including in connection with a
                   22   litigation, at any time during the preceding five years;1 and (6) identifies (by name and number of
                   23   the case, filing date, and location of court) any litigation in connection with which the 7.4 Expert
                   24   has offered expert testimony, including through a declaration, report, or testimony at a deposition
                   25
                        1
                   26    If the Expert believes any of this information is subject to a confidentiality obligation to a third
                        party, then the Expert should provide whatever information the Expert believes can be disclosed
                   27   without violating any confidentiality agreements, and the Party seeking to disclose to the Expert
                        shall be available to meet and confer with the Designating Party regarding any such engagement.
                   28   approve the disclosure. The Party opposing the disclosure may file a formal opposition with the
COOLEY LLP
                        Court within 14 days of the motion.
ATTORNEYS AT LAW                                                                                      NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            13             [PROPOSED] AMENDED STIPULATED
                                                                                                      PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 15 of 26



                    1   or trial, during the preceding five years. This written request shall be sent by email to Facebook’s
                    2   outside      counsel,    using    the    following        email   addresses:   rhodesmg@cooley.com;
                    3   brownmd@cooley.com;                gutkinjm@cooley.com;               and        kwong@cooley.com;
                    4   lpomeroy@cooley.com; and ssong@cooley.com, or if the 7.4 Expert is being retained by
                    5   Defendant, to the named plaintiffs’ counsel, using the following email addresses:
                    6   jimf@bflawfirm.com                and            dstraite@kaplanfox.com.dstraite@dicellolevitt.com;
                    7   sgrygiel@silvermanthompson.com; and jaybarnes@simmonsfirm.com.
                    8                    (b)     A Party that makes a request and provides the information specified in
                    9   Section 7.4(a) may disclose the subject Protected Material to the identified 7.4 Expert 15 days after
                   10   making its Section 7.4(a) disclosure unless, within 14 days of delivering the request, the Party
                   11   receives a written objection from the Designating Party. Any such objection must set forth in detail
                   12   the grounds on which it is based.
                   13                    (c)     A Party that receives a timely written objection must meet and confer with
                   14   the Designating Party to try to resolve the matter by agreement within seven days of the written
                   15   objection. If no agreement is reached, the Party seeking to make the disclosure to the 7.4 Expert
                   16   may file a motion as provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-
                   17   5 and General Order 62, if applicable) seeking permission from the court to do so. Any such motion
                   18   must describe the circumstances with specificity, set forth in detail the reasons why the disclosure
                   19   to the 7.4 Expert is reasonably necessary, assess the risk of harm that the disclosure would entail,
                   20   and suggest any additional means that could be used to reduce that risk. In addition, any such motion
                   21   must be accompanied by a competent declaration describing the parties’ efforts to resolve the matter
                   22   by agreement (i.e., the extent and the content of the meet and confer discussions) and setting forth
                   23   the reasons advanced by the Designating Party for its refusal to approve the disclosure. The Party
                   24   opposing the disclosure may file a formal opposition with the Court within 14 days of the motion.
                   25             In any such proceeding, the Party opposing disclosure to the 7.4 Expert shall bear the burden
                   26   of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)
                   27   outweighs the Receiving Party’s need to disclose the Protected Material to its 7.4 Expert.
                   28                    (d)     Notwithstanding the above, Disclosure or Discovery Material may be
COOLEY LLP
ATTORNEYS AT LAW                                                                                         NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                               14             [PROPOSED] AMENDED STIPULATED
                                                                                                         PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 16 of 26



                    1   provided to experts or consultants only to the extent necessary for such expert or consultant to
                    2   prepare a written opinion, to prepare to testify, or to assist counsel or the Parties, provided that such
                    3   expert or consultant is using said Disclosure or Discovery Material solely in connection with this
                    4   litigation, and further provided that such expert or consultant has previously executed an
                    5   undertaking in the form attached hereto as Exhibit A, agreeing in writing to be bound by the terms
                    6   and conditions of this Order, consenting to the jurisdiction of this Court for purposes of enforcement
                    7   of the terms of this Order, and agreeing not to disclose or use any Disclosure or Discovery Material
                    8   for purposes other than those permitted hereunder.
                    9   8.        PROSECUTION BAR
                   10             Absent written consent from the Producing Party, any individual who receives access to
                   11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information of the opposing party
                   12   shall not be involved in the prosecution of patents or patent applications relating to the subject
                   13   matter of the “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information he or she
                   14   received before any foreign or domestic agency, including the United States Patent and Trademark
                   15   Office (“the Patent Office”). For purposes of this paragraph, “prosecution” includes directly or
                   16   indirectly drafting, amending, advising, or otherwise affecting the scope or maintenance of patent
                   17   claims. To avoid any doubt, “prosecution” as used in this paragraph does not include representing
                   18   a party challenging a patent before a domestic or foreign agency (including, but not limited to, a
                   19   reissue protest, ex parte reexamination or inter partes reexamination). This Prosecution Bar shall
                   20   begin when access to “HIGHLY CONFIDENTIAL ATTORNEYS’ EYES ONLY” information is
                   21   first received by the affected individual and shall end five (5) years after final termination of this
                   22   action.
                   23   9.        PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
                                  OTHER LITIGATION
                   24

                   25             If a Party is served with a subpoena or a court order issued in other litigation that compels

                   26   disclosure of any information or items designated in this action as “CONFIDENTIAL” or

                   27   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” that Party must:

                   28                    (a)     promptly notify in writing the Designating Party. Such notification shall
COOLEY LLP
ATTORNEYS AT LAW                                                                                       NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                             15             [PROPOSED] AMENDED STIPULATED
                                                                                                       PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 17 of 26



                    1   include a copy of the subpoena or court order;
                    2                    (b)      promptly notify in writing the party who caused the subpoena or order to
                    3   issue in the other litigation that some or all of the material covered by the subpoena or order is
                    4   subject to this Order. Such notification shall include a copy of this Order; and
                    5                    (c)      cooperate with respect to all reasonable procedures sought to be pursued by
                    6   the Designating Party whose Protected Material may be affected.
                    7          If the Designating Party timely seeks a protective order, the Party served with the subpoena
                    8   or court order shall not produce any information designated in this action as “CONFIDENTIAL”
                    9   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the
                   10   court from which the subpoena or order issued, unless the Party has obtained the Designating
                   11   Party’s permission. The Designating Party shall bear the burden and expense of seeking protection
                   12   in that court of its confidential material – and nothing in these provisions should be construed as
                   13   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from
                   14   another court.
                   15   10.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
                               THIS LITIGATION
                   16

                   17                    (a)      The terms of this Order are applicable to information produced by a Non-

                   18   Party in this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

                   19   ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection with this

                   20   litigation is protected by the remedies and relief provided by this Order. Nothing in these provisions

                   21   should be construed as prohibiting a Non-Party from seeking additional protections.

                   22                    (b)      In the event that a Party is required, by a valid discovery request, to produce

                   23   a Non- Party’s confidential information in its possession, and the Party is subject to an agreement

                   24   with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

                   25                          (1) promptly notify in writing the Requesting Party and the Non-Party that some

                   26   or all of the information requested is subject to a confidentiality agreement with a Non- Party;

                   27                          (2) promptly provide the Non-Party with a copy of the Stipulated Protective

                   28   Order in this litigation, the relevant discovery request(s), and a reasonably specific description of
COOLEY LLP
ATTORNEYS AT LAW                                                                                        NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                              16             [PROPOSED] AMENDED STIPULATED
                                                                                                        PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 18 of 26



                    1   the information requested; and
                    2                        (3) make the information requested available for inspection by the Non-Party.
                    3                  (c)      If the Non-Party fails to object or seek a protective order from this court
                    4   within 28 days of receiving the notice and accompanying information, the Receiving Party may
                    5   produce the Non-Party’s confidential information responsive to the discovery request. If the Non-
                    6   Party timely seeks a protective order, the Receiving Party shall not produce any information in its
                    7   possession or control that is subject to the confidentiality agreement with the Non-Party before a
                    8   determination by the court.2 Absent a court order to the contrary, the Non-Party shall bear the
                    9   burden and expense of seeking protection in this court of its Protected Material.
                   10   11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                   11          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
                   12   Material to any person or in any circumstance not authorized under this Stipulated Protective Order,
                   13   the Receiving Party must immediately (a) notify in writing the Designating Party of the
                   14   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected
                   15   Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the
                   16   terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and
                   17   Agreement to Be Bound” that is attached hereto as Exhibit A.
                   18   12.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                               PROTECTED MATERIAL
                   19

                   20                  (a)      Pursuant to Federal Rule of Evidence 502(d), in the event that Disclosure or

                   21   Discovery Material that is subject to a claim of attorney-client privilege, attorney work product

                   22   protection, or any other applicable protection from discovery is inadvertently produced or disclosed

                   23   (“Inadvertent Production Material”), such inadvertent production shall in no way prejudice or

                   24   otherwise constitute a waiver of, or estoppel as to, any claim of attorney-client privilege, attorney

                   25   work product protection, or other applicable protection in this case or any other federal or state

                   26   proceeding. This provision shall govern regardless of the reasonableness of any steps taken to

                   27
                        2
                          The purpose of this provision is to alert the interested parties to the existence of confidentiality
                   28   rights of a Non-Party and to afford the Non-Party an opportunity to protect its confidentiality
COOLEY LLP
                        interests in this court.
ATTORNEYS AT LAW                                                                                       NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            17              [PROPOSED] AMENDED STIPULATED
                                                                                                       PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 19 of 26



                    1   prevent such inadvertent disclosure.
                    2                  (b)     If a claim of inadvertent production is made, pursuant to this Stipulated
                    3   Protective Order, with respect to Discovery Material then in the custody of another Party, that Party
                    4   shall: (i) refrain from any further examination or disclosure of the claimed Inadvertent Production
                    5   Material; (ii) promptly make a good-faith effort to return the claimed Inadvertent Production
                    6   Material and all copies thereof (including summaries and excerpts) to counsel for the Producing
                    7   Party, or destroy all such claimed Inadvertent Production Material (including summaries and
                    8   excerpts) and certify in writing to that fact; and (iii) not sequester, disclose, or use the claimed
                    9   Inadvertent Production Material for any purpose until further order of the Court expressly
                   10   authorizing such use. This includes a restriction against presenting the information to the Court in
                   11   connection with any dispute under this Section 12 or in connection with any dispute over a claim
                   12   of attorney-client privilege, attorney work product protection, or other applicable protection.
                   13                  (c)     A Party may move the Court for an order compelling production of the
                   14   claimed Inadvertent Production Material. The motion shall be filed under seal and shall not assert
                   15   as a ground for entering such an order the fact or circumstance of the inadvertent production. While
                   16   such a motion is pending, the Disclosure or Discovery Material in question shall be treated in
                   17   accordance with Section 12(b) above.
                   18                  (d)     If a Party, in reviewing Disclosure or Discovery Material it has received
                   19   from any other Party or any non-Party, finds anything the reviewing Party believes in good faith
                   20   may be Inadvertent Production Material, the reviewing Party shall: (i) refrain from any further
                   21   examination or disclosure of the potentially Inadvertent Production Material; (ii) promptly
                   22   identify the material in question to the Producing Party (by document number or other equally
                   23   precise description); and (iii) give the Producing Party seven (7) days to respond as to whether
                   24   the Producing Party will make a claim of inadvertent production. If the Producing Party makes
                   25   such a claim, the provisions of Section 12(a)-(b) above shall apply.
                   26   13.    MISCELLANEOUS
                   27          13.1    Right to Further Relief. Nothing in this Order abridges the right of any person to
                   28   seek its modification by the court in the future.
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                              18          [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 20 of 26



                    1          13.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order
                    2   no Party waives any right it otherwise would have to object to disclosing or producing any
                    3   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no
                    4   Party waives any right to object on any ground to use in evidence of any of the material covered by
                    5   this Protective Order.
                    6          13.3    Filing Protected Material. Without written permission from the Designating Party
                    7   or a court order secured after appropriate notice to all interested persons, a Party may not file in the
                    8   public record in this action any Protected Material. A Party that seeks to file under seal any
                    9   Protected Material must comply with Civil Local Rule 79-5 and General Order 62. Protected
                   10   Material may only be filed under seal pursuant to a court order authorizing the sealing of the specific
                   11   Protected Material at issue. Pursuant to Civil Local Rule 79-5 and General Order 62, a sealing order
                   12   will issue only upon a request establishing that the Protected Material at issue is privileged,
                   13   protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving Party’s
                   14   request to file Protected Material under seal pursuant to Civil Local Rule 79- 5(d) and General
                   15   Order 62 is denied by the court, then the Receiving Party may file the information in the public
                   16   record pursuant to Civil Local Rule 79-5(e) unless otherwise instructed by the court.
                   17          13.4    Right to Seek Further Protection. Nothing in this Stipulated Protective Order shall
                   18   be construed to preclude any Party from asserting in good faith that certain Protected Materials
                   19   require additional protections. The Parties shall meet and confer to agree upon the terms of such
                   20   additional protection.
                   21          13.5    Scope of Stipulated Protective Order. Any Party or Non-Party to this Proceeding
                   22   who has not executed this Stipulated Protective Order as of the time it is presented to the Court for
                   23   signature may thereafter become a Party to this Stipulated Protective Order by its counsel’s signing
                   24   and dating a copy thereof and filing the same with the Court, and serving copies of such signed and
                   25   dated copy upon the other Parties to this Stipulated Protective Order.
                   26          13.6    Agreement Regarding Privilege Log. No Party need produce a privilege log entry
                   27   for communications between a Party and outside counsel if the attorney is in the to, from or cc field
                   28   of the communication, or for communications between Facebook, Inc. and in-house counsel Colin
COOLEY LLP
ATTORNEYS AT LAW                                                                                       NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                            19              [PROPOSED] AMENDED STIPULATED
                                                                                                       PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 21 of 26



                    1   Stretch or Sandeep Solanki, if counsel was in the to or from fields of the communication; provided,
                    2   however, that all privileged documents must be preserved for the entirety of the litigation regardless
                    3   of whether logged.
                    4   14.    FINAL DISPOSITION
                    5          Within 60 days after the final disposition of this action, as defined in Section , each
                    6   Receiving Party must return all Protected Material to the Producing Party or destroy such material.
                    7   As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
                    8   summaries, and any other format reproducing or capturing any of the Protected Material. Whether
                    9   the Protected Material is returned or destroyed, the Receiving Party must submit a written
                   10   certification to the Producing Party (and, if not the same person or entity, to the Designating Party)
                   11   by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected Material
                   12   that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,
                   13   abstracts, compilations, summaries or any other format reproducing or capturing any of the
                   14   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy
                   15   of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
                   16   correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant
                   17   and expert work product, even if such materials contain Protected Material. Any such archival
                   18   copies that contain or constitute Protected Material remain subject to this Protective Order as set
                   19   forth in Section 4 (DURATION).
                   20          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                   21

                   22   Dated: September 6, 2013                            COOLEY LLP
                   23
                                                                            /s/ Matthew D. Brown
                   24                                                       MICHAEL G. RHODES (116127)
                                                                            (rhodesmg@cooley.com)
                   25                                                       MATTHEW D. BROWN (196972)
                                                                            (brownmd@cooley.com)
                   26                                                       JEFFREY M. GUTKIN (216083)
                                                                            (jgutkin@cooley.com)
                   27                                                       101 California Street, 5th Floor
                                                                            San Francisco, CA 94111-5800
                   28                                                       Telephone:     (415) 693-2000
COOLEY LLP
ATTORNEYS AT LAW                                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                           20             [PROPOSED] AMENDED STIPULATED
                                                                                                     PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 22 of 26



                    1                                           Facsimile:     (415) 693-2222
                    2                                           Attorneys for Defendant FACEBOOK, INC.
                    3

                    4
                         Dated: September 6, 2013               BARTMUS, FRICKLETON, ROBERTSON,
                    5
                                                                & GORNY, P.C.
                    6

                    7                                           /s/ James P. Frickleton
                                                                EDWARD D. ROBERTSON, JR.
                    8                                           (chiprob@earthlink.net)
                                                                JAMES P. FRICKLETON
                    9                                           STEPHEN M. GORNY
                                                                MARY D. WINTER
                   10                                           EDWARD D. ROBERTSON III
                                                                11150 Overbook Road, Suite 200
                   11                                           Leawood, KS 66211
                                                                Telephone: (913) 266-2300
                   12                                           Facsimile: (913) 266-2366
                   13                                           KEEFE BARTELS, L.L.C.
                                                                Stephen G. Grygiel
                   14                                           170 Monmouth Street
                                                                Red Bank, NJ 07701
                   15                                           sgrygiel@keefebartels.com
                                                                Telephone: (732) 224-9400
                   16                                           Facsimile: (732) 224-9494
                   17                                           Interim Co-Lead Counsel for the Class
                   18
                        Dated: January 13, 2022             COOLEY LLP
                   19

                   20                                       /s/ Michael G. Rhodes
                                                              Michael G. Rhodes
                   21
                                                           Attorneys for Defendant
                   22                                      Meta Platforms, Inc., f/k/a Facebook, Inc.

                   23

                   24 Dated: January 13, 2022              DICELLO LEVITT GUTZLER LLC

                   25                                       /s/ David A. Straite
                                                              David A. Straite (admitted pro hac vice)
                   26
                                                           Counsel for Plaintiffs
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                          NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                               21              [PROPOSED] AMENDED STIPULATED
                                                                                          PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 23 of 26



                    1 Dated: January 13, 2022              GRYGIEL LAW LLC
                    2
                                                            /s/ Stephen G. Grygiel
                    3                                         Stephen G. Grygiel (admitted pro hac vice)

                    4                                      Counsel for Plaintiffs

                    5
                        Dated: January 13, 2022            SIMMONS HANLY CONROY LLC
                    6
                                                            /s/ Jason “Jay” Barnes
                    7                                         Jason “Jay” Barnes (admitted pro hac vice)
                    8                                      Attorneys for Plaintiffs
                    9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                         NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                22            [PROPOSED] AMENDED STIPULATED
                                                                                         PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 24 of 26



                    1                                           ATTESTATION
                    2           Filer’s Attestation: Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, Michael

                    3    G. Rhodes hereby attests that concurrence in the filing of this document has been obtained.

                    4
                        Dated: January 13, 2022                        /s/ Michael G. Rhodes
                    5                                                    Michael G. Rhodes
                    6

                    7

                    8
                         PURSUANT TO STIPULATION, IT IS SO ORDERED.
                    9
                         DATED
                   10                                                      The Honorable Edward J. Davila
                                                                           UNITED STATES DISTRICT JUDGE
                   11
                                                                           Paul S. Grewal
                   12                                                      UNITED STATES MAGISTRATE JUDGE
                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                    NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                          23             [PROPOSED] AMENDED STIPULATED
                                                                                                    PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 25 of 26



                    1                                              EXHIBIT A
                    2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                    3           I, _____________________________ [print or type full name], of __________________
                    4   [print or type full address], declare under penalty of perjury that I have read in its entirety and
                    5   understand the Amended Stipulated Protective Order that was issued by the United States District
                    6   Court for the Northern District of California on [date] in the case of In re Facebook Internet
                    7   Tracking Litigation, No. 5:12-md-02314-EJD. I agree to comply with and to be bound by all the
                    8   terms of this Amended Stipulated Protective Order and I understand and acknowledge that failure
                    9   to so comply could expose me to sanctions and punishment in the nature of contempt. I solemnly
                   10   promise that I will not disclose in any manner any information or item that is subject to this
                   11   Amended Stipulated Protective Order to any person or entity except in strict compliance with the
                   12   provisions of this Order.
                   13           I further agree to submit to the jurisdiction of the United States District Court for the
                   14   Northern District of California for the purpose of enforcing the terms of this Amended Stipulated
                   15   Protective Order, even if such enforcement proceedings occur after termination of this action.
                   16           I hereby appoint ____________________________ [print or type full name] of
                   17   _______________________________________ [print or type full address and telephone number]
                   18   as my California agent for service of process in connection with this action or any proceedings
                   19   related to enforcement of this Stipulated Protective Order.
                   20

                   21   Date:
                   22   City and State where sworn and signed:
                   23

                   24   Printed name:
                                               [printed name]
                   25

                   26   Printed name:
                                               [signature]
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                   NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                                          24            [PROPOSED] AMENDED STIPULATED
                                                                                                   PROTECTIVE ORDER
                        Case 5:12-md-02314-EJD Document 226-2 Filed 01/13/22 Page 26 of 26



                    1                                PROPOSED ORDER
                    2   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                    3

                    4   DATED: _______________________
                                                               The Honorable Edward J. Davila
                    5                                          UNITED STATES DISTRICT JUDGE
                    6

                    7

                    8
                        262419739
                    9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                     NO. 5:12-MD-02314-EJD
 SAN FRANCISCO                                               25         [PROPOSED] AMENDED STIPULATED
                                                                                     PROTECTIVE ORDER
